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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Art Akiane LLC
                                      Plaintiff,
v.                                                      Case No.: 1:19−cv−02952
                                                        Honorable Edmond E. Chang
Art & SoulWorks LLC, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 22, 2019:


        MINUTE entry before the Honorable Edmond E. Chang: Status hearing held.
Plaintiff shall serve newly added Defendant Carpentree as soon as possible. The Court and
the parties discussed a schedule for the expedited preliminary−injunction motion, but it
was clear that more conferral is needed between the current parties on what precisely will
be sought and whether depositions or other discovery is needed to prosecute the motion or
to defend against it. Status hearing set for 08/26/2019 at 9:30 a.m. to discuss the results of
the conferral. Emailed notice(slb, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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